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                               EXHIBIT M




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                                                                                  Department of
                                                                                  Flomeless Servlces
                                NYC Department of Homeless Servlces lncident Report
  Prlority Code: 3                                                                  Data:06N712017                      Day of Week: $unday

  l]me: 11;25 PM                                                                    Facility Name: Marsha's House       Facility Code: X185

  Facility Class: Shelter                                                           Facillty Type: Adult Shelter       Prlmary Type: On-site incidents
                                                                                                                       that are not classlfied as Pridrity
                                                                                                                       One or PrloritY Two, but occur
                                                                                                                       in the shelter lnvolving clienls,
                                                                                                                       staff, vlsitors or prop€rty, lncludingl
                                                                                                                       thefts, physlcal lights, personal
                                                                                                                       inlury, minor property damage,
                                                                                                                       and/or evacuatlons

  Secondary Types:



 pERSONS INVOLVED: O=Others-staff                                                      c=cllent   V::Vlctlm w=wltness ob=observor P=Porpetratoro"other


  o,s€ v.w-
       ob-P-o
                                Lart Name                                         Flrst Narne       Sex              CARESID       8SN    Age   DOB


  s            ob               Barkley                                           Lamonl
  s            ob               Danlels                                           Shareef                                      I

  S
  c
               ob
               P
                                Smlth
                                LOPEZ
                                                                                  Cheyenne
                                                                                  MARIAH            Female                               32     r
 BRIEF DESCRIPTION oF INCIDENT (Who, what, whore, when) Attach addltlonal
                                                                          sheet if necersrry

 Crealed by: Katina RoYe
 o1n$nAl7 03:49 PM
 On Sunday, MayZ,20'17atl.1:2bpM,clientMariahLopez,CARESlD#InteredMarsha'sHousewllhaboltle
                                                                                                         cliont
      wlne. eps, Daniols and Cheyenne informed RIA Barkley, who asked client to leave the bottle ACCESS.
                                                                                                at
 of
 relused and proceeded uPstalrs.


IMMEDIATE ACTION TAKEN: (By on-slte ataff respondlng to thc lncldent)
 Cllent was lnformad of lhe rules and regulalions,


RESIDENT STATEMENT ATTACHED, WHEN APPLICABLE. (see Part 481.7{dxr5))


 I      Resident statement attached,




ll illr$1ffi ilH$l illfr llilll Hill   lffi   fi   [ilfi   ffi   ilil lil   lfi
DOCIINCIDENT-REPORTS
                                                                                                                                                       1of   3
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                                           Department of
                                           Homeless $enrices

 I    Resident refused but offered.

 I    Resident unable to provlde slalement due to medical or related emergency reasoni
 n    other



 Report                                                                       Titlo;:
                                                                                        ilfsr,.s-zr*rr        I rcgcrue
 Date:


                    8yl$lgnaturel                                             TiUer      5'l*1h*     Drt"*fu
 Date:


fl    Security/Peace ollicet Rsport AttachBd


REVIEWiRECOMMENDATION:              Io be completed by     DHS Slaff


INDICATORS: To Ee Completed by DHS Stelf

                                                                                 Date:

Slgnature ol DHS Ptogrdm AnalYst



DISPOSITION/FINAL ACTION TAKEN; To be complated by DHS Ptognm Admlnlstrator



                                                                                 Date:
Signatura ol DHS Program Admlnlstrator



DATE REPoRT RETURNED To FAclLlTv (cLlENT SUSPENSIoI{s ONLY)I
Priority One lncldents are the most serlous and urgent, Prlorlty One lncldenls lnclude:
 r    Homicide, sulclde, or death on site attempted hornicide, attempted euicide, assaull resulting in life-threatoning
      injury, or accident rcsulting in life-lhreatening inJury (including drug overdose) Uee of a firearm Rape, atlempted
      rape, or gexual assault Arrost for alleged chlld abuse or omergency transport of child for medical treatment due to
     suspected child abuse Fke, digaster, or other envlronmental conceln lhat involves a lifa.threatening lnjury or tha
     evacuation ol an entire eito ae directed by emergency personnel or FDNY lesponee Rlot, bomb lhteal hoslage
     taking/abductlon, or m issing chlldren Unscheduled on-sile presence of the prcss or el€cted official Assault or
     throatenlng behavlor thal resulls in life-threatening inJury or accident resulting ln life-threatening iniury (inoluding
     onerdoes) Arresl of DHS slaff on site Healing, water, electrical failure, or other environmental lseue (1,0, asbestos,
     lead, radon), thal is expected to last moro ihan 4 hours Domostlc violence that rasults in the vlctim pressing
     charges, arresi of the assailant and/or lhe relocation of the victim



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                                            Deparlrnent of
                                            Homeless Servlces
 Prlorlty l\ro lncldsntr lncluds problams lhat are not lmmedlately llfe-lhreatenlng or dangerous; but still must be
 reported prompt}, eo that agency admlnlstretors ars lnformed of lhe lncldent and can resolve thc matlcr withln
 approprlato time frames

  .   PhysicaltlghtE that do not reEult in arrest
  r   Allegations of rape, attempted rape or sexual bssault lhat do not rasult ln arrest
  r   Arrest of e cllent, etail or visftor for crlmlnal actlvity.occurrlng ln the facility, lneludlng harassment, lntlmidation or
      vlctlmlzation (i.e, stealing, extortion, loan sharking)
  r   lncldents that occul off shaller premlses (lncludlng client deathe) and/or lnvolve peruono known lo be cunent
      sheller clients and lhat would othenviso be classlfied as Prlority One
  r   Chlld abure that le reported and reaults in lhe removal of chlldrcn by ACS, but no arrests are maiie
  r   Thefl or vandalism of propetty valued at $1500 or more
  r   lntentional flra setting or damq'e to lacillty equiprnent by a client
  r   Pocaeselon, use, or sal€ of drugs or alcohol on premlses teeultlng ln suSpension of a cllent
  o   Possesslon of a firearm

Prlorlty Three lncidenb lncludo unusual occurrenc€s that need to be recorded and revlew€d for pooeiblc correc{lve
action:
 r    On-eite incidents lhat are not clacslfled as Prlorlty One or Prlorlty TWo, but occur ln lha shelter lnvolving cllento,
     staff, visitors or property, lncluding: thefla, physlcal lights, pcrconal lnjury, mlnor proparly damag€, and/or
     evscuatlons
 r   Off-site lncidente lnvolving clients and/or staff lhat affeci cqmmunlty quallty ol llfE, lncluding: lhefts, phyrlcal
     flghls, pereonal lnjury mlnor properly damage, and/or evacuationa
 r   REmoval, via EM$, of any c$ent for any r€ason other than a Priorily One or Priority Two event


Speclal Calcrl
 r lf NYPD, FDNY or EMS has boen called, and ls not respondlng wlthln e reasonsble llme, lmmedlale notlflcallon
   must be mado to al least the Assislanl Gommlesioner for guidance and assielanco
 r ln conllrmed or auspected casee of contagloua disease (i,e. chlckenpox, Hepatilis A, tuberculosls, measles,
   meningitis), the Asslrtant Commlssloner rhould alert the Agency Medlcal Dlrector lmmediately




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